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      ORDERED in the Southern District of Florida on December 6, 2016.




                                                                Robert A. Mark, Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________
                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division
                                        www.flsb.uscourts.gov

  IN RE:                                      :       CASE NO. 11-45231-RAM
                                              :
  Angel Lage and Marlene Lage                 :       CHAPTER 7
                                              :
           Debtor.                            :

                           _______________/


         ORDER REOPENING CASE TO ADMINISTER ADDITIONAL ASSETS AND
                           DEFERRING FILING FEE


           THIS CAUSE having come before the court upon the Ex parte Motion to Reopen

  Case pursuant to 11 U.S.C. § 350, Bankruptcy Rule 5010, and Local Rule 5010-

  1(C)(ECF 75), and the court having considered the motion, having determined that

  good cause has been shown, and being otherwise fully advised in the premises, it is

           ORDERED that this case is reopened. The U.S. Trustee shall appoint a Trustee to

  oversee administration of the case. The trustee appointed by the U.S. trustee to oversee

  administration of the case shall advise the court if there are funds available for distribution
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to creditors by filing a "Notice of Assets". Eligibility for receipt of distributions from these

funds shall be determined pursuant to Local Rule 3002-1(D). If, in lieu of full payment at

the time of filing the motion to reopen, a motion to defer payment was filed, the fee shall

be due upon recovery of assets by the trustee.

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Submitted by:

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